             CASH DEPOT, l TO                                                                                                                                                                                                                                                 123467
                             VENDOR ID                                                                              NAME                                     PAYMENT NUMBER     CHECK DATE

             WALCHESKE & q.J                                                   WALCHE;SKE & LU?:I LLC                                                        0042535                7/27/201 t
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                                                                                                          Cash Depot, LTD                                \                                                                                                                                     i
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                                                                              Case 1:16-cv-01637-WCG Filed 09/01/17 Page 1 of 3 Document 35-9
 Thomas M. Olejniczak
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 R. Gtorge Bumeet
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 Robert M. Charla
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Michele M. McKinnon
                              CONWAY, OLEJNICZAK &}ERRY,                                             S.C.
 Kurt A. Goehrt                                                                                             Telephone: (920) 437.0476
]amtJ M. Lediiina                                              (   Since 1976 )
Stt.,.nl. Krueger                                                                                           Facsimile: (920) 437-2868
]iUJ. Ray
Joshu a M. Koch                                                                                                     jodi@lcojlaw.com

                                                                                                                www .lc ojl aw .c o m
                                                             August 3, 2017


            .Attorney James A. Walcheske
             Walcheske & Luzi LLC
             15850 W. Bluemound Road, Suite. 304
             Brookfield, WI 53005-6008

                        Re:   Timothy J. Fast vs. Cash Depot, Ltd.
                              U.S. District Court Case No.: 16-CV-1637

             Dear Attorney W alcheske:

             Enclosed is a check in the amount of $13,333.35. This check represents payment of the costs
             and attorneys' fees incurred in advancing Mr. Fast's wage claim against Cash Depot. The
             payment is based on the interrogatory responses your office provided to us on July 14, 2017,
             wherein you represented that you had $402.35 in costs and $12,931 in attorneys' fees.

             Please note that Cash Depot is making this payment despite the fact that you have failed to
             provide us with any type of backup documentation or details concerning the attorneys' fees,
             information we requested in our letter dated July 17, 2017. Without such information we are
             unable to assess the reasonableness of your attorneys' fees. However, as we have stated
             throughout this matter, we wish to avoid unnecessary legal fees and hence Cash Depot has
             eiected to pay such fees and costs without assessing the reasonableness of the fees.

             The enclosed payment, along with the previous payroll check we sent to you for the additional
             wages Schenck determined were owing to Mr. Fast, represents payment in full for the damages
             sustained by Mr. Fast, along with the liquidated damages and fees allowed for under the Fair
             Labor Standards Act.




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August 3, 2017
Page 2


Thank you.

Very truly yours,

LAW FIRM OF CONWAY, OLEJNICZAK & JERRY, S.C.



By   ~g»?// L4
           odt Arndt Labs

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Enclosure
cc:     David R. Charles, Sr., Cash Depot, Ltd.


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           Case 1:16-cv-01637-WCG Filed 09/01/17 Page 3 of 3 Document 35-9
